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        ]0                         UNITED STATES DISTRICT COURT
        11                        CENTRAL DISTRICT OF CALIFO
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                                        WESTERN DIVISION
        12                                                                         "
                 UNITED STATES OF AMERIC
        13       STATE OF CALIFORNIA ez rel.A and             C   o.
                 [UNDER SEAL],                                V~ ~ _ O 2
        14                                                                    5 ~' 8"~~- ►~Wx
                            Plaintiff,                       COMPLAINT
        15
                      v.                                     FILED IN CAMERA AND
        16                                                   UNDER SEAL PURSUANT TO
                 [UNDER SEAL].                               31 U.S.C. § 3730(6)(2)
        17
                           Defendants.
        18
        19
                                                             DEMAND FOR JURY TRIAL
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   10                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   11
                                  WESTERN DIVISION
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          UNITED STATES OF AMERICA and               Case No.
   13     STATE OF CALIFORNIA ex rel.
         [UNDER SEAL],                             C V20-~2a3~-~~~~~
   14                                                COMPLAINT
                      Plaintiff,
   15                                                FILED IN CAMERA AND
                v.                                   UNDER SEAL PURSUANT TO
   16                                                31 U.S.C. § 3730(b)(2)
         [UNDER SEAL].
   17
                      Defendants.
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   19                                                DEMAND FOR JURY TRIAL
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   10                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   11
                                  WESTERN DIVISION
   12
   13     UNITED STATES OF AMERICA and               Case No.
          STATE OF CALIFORNIA ex rel.
          ANTHONY MILLS, M.D.,
   14                                                COMPLAINT
                      Plaintiff,
   15                                                FILED IN CAMERA AND
   16           ►~                                   UNDER SEAL PURSUANT TO
                                                     31 U.S.C. § 3730(b)(2)
   17    JUDY AZAR TERRA NOVA
         ENTERPRISES, INC., STEPHEN
   18    SAMUEL, GOOD HEALTH INC. dba
         PREMIER PHARMACY SERVICES,
   19    CIENEGA PHARMACY, INC.,
         MEDQUICK PRESCRIPTION                       DEMAND FOR JURY TRIAL
   20    SHOPPE, INC. EMMANUEL LIM
         and ERL MEDICAL CORPORATIbN.
   21                 Defendants.
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   28                                        COMPLAINT
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                                  I.      Preliminary Statement
    2                The centerpiece ofthis false claims act lawsuit is the biologic drug
    3   called intravenous immunoglobulin or "NIG".IVIG, an antibody therapy derived
    4   from human plasma used to treat peripheral neuropathy,(often experienced as pain,
    5   numbness or tingling), is administered via infusion. It is exceedingly expensive, and
    6   government reimbursement for the drug is easily tens of thousands per year for a
    7   single patient. At one time it was common practice for physicians to prescribe IVIG
    8   to HIV/AIDS patients suffering from chronic inflammatory demyelinaring
    9   polyneuropathy or as it is often referred to,"CIDP". Both federal and state funded
   10   health insurance programs reimburse for IVIG and for administration ofthe
   11   infusion. The defendants in this case decided to fraudulently enrich themselves by
   12   means of falsified prescriptions for IVIG and IVIG infusions at the expense ofthe
   13   federal and state government. As a consequence, the United States and the State of
   14   California have suffered many millions of dollars in damages, taxpayer dollars that
   15   defendants essentially stole from the government and which could, and should,
   16   have been used to provide necessary and appropriate medical care to actual patients.
   17         2.     The first step in Defendants' multi-faceted scheme was generating
   18   false IVIG prescriptions. Defendant Judy Azar, previously employed full time as a
   19   medical assistant by the Relator,(a physician and nationally recognized HIV
   20   specialist), created fake IVIG prescriptions and fake prior approval letters for years,
   21   even falsifying Relator's signature. Next, she transferred these prescriptions to one
   22   of the defendant specialty pharmacies, Good Health, Inc.(hereinafter "Premier
   23   Phannacy"), Cienega Pharmacy, Inc., or MedQuick Prescription Shoppe, Inc.
   24   which submitted them to the federal government(CMS)or state government
   25 (Medi-Cal)for reimbursement. In so doing these pharmacies, which had every
   26   reason to know these prescriptions were fake, profited in multiple respects. First,
   27   when they submitted claims for drug reimbursement by the government they
   28                                        COMPLAINT
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    1   profited by the difference between the price they would have paid for the drug in
    2   the commercial market, and the reimbursement amount they received from the
    3   government for the drug. Second, they profited by submitting false claims for
    4   reimbursement for infusion sessions which never actually took place. Third, since
    5   the prescriptions were fictitious, they very well opted not to even buy the IVIG in
    6   the commercial market. Instead, they simply submitted false claims for government
    7   reimbursement using the fake prescriptions and pocketed the entire reimbursement.
    8         3.     Liability under the federal and California false claims acts also
    9   attaches to these fake claims because they are the direct consequence of unlawful
   10   kickbacks. The relationship between Judy Azar/ Terra Nova Enterprises, Inc. and
   11   the specialty pharmacies was conspiratorial. In exchange for receiving supplies of
   12   fraudulent IVIG prescriptions(which the pharmacies proceeded to submit for
   13   reimbursement), the pharmacies agreed to, and did, pay Azar generous kickbacks.
   14   These payments not only violated the federal and California anti-kickback statutes,
   15   they simultaneously tainted and rendered materially false all claims for
   16   reimbursement derived therefrom. These kickbacks took the form of so-called
   17   payment for Judy Azar's administration ofinfusions of NIG. Defendant Premier
   18   Pharmacy, for example, paid her as a full-time employee for years. But Relator's
   19   invesrigation reveals that these infusions never occurred and in any event, as a
   20   medical assistant, Judy Azar could not legally administer drug infusions in
   21   California. To provide cover for payment of these kickbacks, Judy Azar created
   22   fake invoices for her infusion services and falsely represented that she was a
   23   registered nurse.
   24         4.     Relator's investigation also indicates that the specialty pharmacies
   25   purchased IVIG in connection with the execution of this fraud on the government,
   26   and that some of what was acquired made its way to Judy Azar /Terra Nova
   27   Enterprises, Inc., who then sold the drug on the black market at a large discount off
   28                                        COMPLAINT
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    1   commercially available prices. Defendants Dr. Emanuel Lim and the company he
    2   heads, ERL Medical Corporation, purchased large quantities of heavily discounted
    3   IVIG from Azar for years, despite being presented with ample red flags warning
    4   that these unregulated purchases of drug from a medical assistant were squarely
    S   illegal. The patient's insurer, which upon information and belief was often CMS or
    6   Medi-Cal, then reimbursed Lim for the drug. The "spread" between what Lim paid
    7   for the drug and the amount by which he was reimbursed was fraudulently inflated
    8   because he acquired the black market IVIG so cheaply.
    9         5.       As between the three pharmacy defendants, the unlawful actions of
   10   defendant Premier Pharmacy were particularly egregious. Numbers help to tell the
   11   story. Invoices show that over the course of at least five years, Azar billed, and
   12   Premier Pharmacy paid $17,570.00 for 74 infusion sessions. Furthermore, Azar
   13   prepared and then transmitted to Premier Pharmacy at least 38 forged progress
   14   notes for use in providing cover for their fraudulent scheme.
   15                               II.    Jurisdiction and Venue
   16         6.       This Court has jurisdiction under 31 U.S.C. §§ 3730 et seq. and 28
   17   U.S.C. §§ 1331 and 1345. The Court may exercise personal jurisdiction over
   18   Defendants because they reside or transact business in this District or committed
   19   the proscribed acts in this District.
   20         7.       Venue lies in this District pursuant to 31 U.S.C. § 3732(a) because at
   21   least one Defendant may be found, resides, and transacts business in this District,
   22   and many of the acts complained oftook place in this District.
   23                                           III.   Parties
   24   A.    Plaintiffs
   25         8.       The United States of America is a real party in interest to the claims of
   26   this action.
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   28                                            COMPLAINT
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    1         9.      The United States brings these claims on its behalf and on behalf of the
    2   Centers for Medicare and Medicaid Services("CMS"),the Defense Health Agency
    3   as administrator of TRICARE,the Veterans Health Administration as administrator
    4   of VA health care benefits, the Office of Personnel Management as administrator of
    5   the Federal Employee Health Benefits Program, and the Federal Employees
    6   Compensation Plan.
    7         10.     The State of California is a real party in interest to claims alleged in
    8   this action. California administers its Medicaid program known as Medi-Cal
    9   through the Department of Health Care Services.
   10         1 1.    The Relator is Dr. Anthony Mills ("Dr. Mills" or "Relator Mills"), an
   11   individual residing in California. Dr. Mills is the President of Southern California
   12   Men's Medical Group ("SoCal Men's Medical Group" or the "Medical Group"),
   13   9201 Sunset Blvd #812,Los Angeles, CA. Additionally, he is the clinical research
   14   director of an affiliated entity, Mills Clinical Research and the CEO of a second
   15   affiliated entity, the Men's Health Foundation. Relator Mills is also a member of
   16   the Clinical Medicine Faculty ofthe University of California at Los Angeles.
   17   Relator Mills is a leading clinician in the fields of men's health and HIV treatment.
   18   He is a member ofthe Infectious Disease Society of America, the HIV Medical
   19   Association, International AIDs Society,IAS-USA and the American Academy of
   20   HIV Medicine. Dr. Mills received his B.A. and M.D. degrees from Duke
   21   University.
   22   B.    Defendants
   23         12.     Defendant Judy Azar("Azar") is an individual residing in California.
   24   During the time period covered by this Complaint, Ms. Azar was employed by
   25   SoCal Men's Medical Group as a medical assistant. Her responsibilities included
   26   drawing blood, taking vital signs, administering intermuscular injections and
   27   escorting patients. Relator terminated Azar's employment with SoCal Men's
   28                                         COMPLAINT
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    1   Medical Group on or about Apri18, 2019 in the wake of learning ofthe fraud
    2   alleged herein.
    3         13.    Defendant Terra Nova Enterprises, Inc.("Terra Nova")is a suspended
    4   corporation that was incorporated in California in 2007 and headquartered at 26507
    5   Tahoe Drive, Valencia, CA 91354. Azar founded Terra Nova with Christopher
    6   Morton (upon information and belief her boyfriend), and then proceeded to use it as
    7   a front for conducting her illegal activities. Because Azar created and utilized Terra
    8   Nova to assist in executing and concealing the fraud, and upon information and
    9   belief this was its sole, or primary purpose, all references to Azar herein also
   10   include Terra Nova.
   11         14.    Defendant Stephen Samuel is an individual residing in California and
   12 ~ has been the CEO of Good Health, Inc. at all times relevant to this Complaint. Mr.
   13   Samuel is also an attorney and maintains an active license under the State Bar of
   14   California. His license number is 227507.
   15         15.    Defendant Good Health, Inc. dba Premier Pharmacy Services
   16 ("Premier Pharmacy") is a long-term care and specialty pharmacy serving patients
   17   nationwide, including HIV/AIDS patients. Premier Pharmacy's primary distribution
   18   center is located in California, with additional locations in Arizona, Texas,
   19   Missouri, Pennsylvania, and New Jersey. Premier Pharmacy was incorporated in
   20   California and is headquartered at 410 Cloverleaf Drive, Baldwin Park, CA 91706.
   21   According to a recent Los Angeles Business Journal article, Premier Pharmacy is
   22   licensed in a1150 states and has approximately 300 employees. Premier Phannacy's
   23   National Provider Identifier number and its California Medi-Cal number is
   24 #1053486795.
   25         16.    Defendant Cienega Pharmacy, Inc.("Cienega Pharmacy")is a full-
   26   service pharmacy specializing inpatients being treated for HIV/AIDS. Cienega
   27
   28                                        COMPLAINT
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    1   Phannacy was incorporated in California and is headquartered at 7360 Santa
    2   Monica Boulevard, Suite 101, West Hollywood, CA 90046.
    3         17.     Defendant MedQuick Prescription Shoppe,Inc.("MedQuick")is a
    4   specialty pharmacy providing services to patients with complex chronic diseases,
    5   including HIV/AIDS. MedQuick was incorporated in California and is
    6   headquartered at 546 W.Las Tunas Drive, San Gabriel, CA 91776.
    7         18.     Defendant Emmanuel Lim is an individual residing in California and is
    8   the President of ERL Medical Corporation. Dr. Lim specializes in the field of
    9   HIV/AIDS treatment. Lim's NPI number is #1275514234.
   10         19.     Defendant ERL Medical Corporation, dba Lim-Keith Multispecialty
   11   Clinic Inc.,("ERL"), is a corporation that was incorporated in California and is
   12   headquartered at 6200 Wilshire Boulevard, Suite 1510, Los Angeles, CA 90048.
   13   ERL's NPI number is #1982760500.
   14                                 IV.    Legal Framework
   15 ~ A.    The Federal False Claims Act
   16         20.     The False Claims Act("FCA")provides in pertinent part that any
   17 ~ person who:
   18        (A) knowingly presents, or causes to be presented, a false or
   19               fraudulent claim for payment or approval;[or]
   20        (B) knowingly makes, uses, or causes to be made or used, a false
   21               record or statement material to a false or fraudulent claim ... [or]
   22        (C) conspires to commit a violation of subparagraph(A),(B),(D),
   23               (E),(F), or(G);
   24                                            ***

   25        (G) knowingly makes, uses, or causes to be made or used, a false
   26               record or statement material to an obligation to pay or transmit
   27               money or property to the Government, or knowingly conceals or
   28                                         COMPLAINT
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     1                knowingly and improperly avoids or decreases an obligation to
    2                 pay or transmit money or property to the Government,
    3          is liable to the United States Government [for treble damages and
    4          such penalties as are allowed by law].
    5    31 U.S.C. § 3729(a)(1)(A),(B),(C)and(G).
    6          21.     The FCA further provides that "knowing" and "knowingly"
    7         (A) mean that a person, with respect to information-
    8                (i) has actual knowledge ofthe information;
    9                (ii) acts in deliberate ignorance of the truth or falsity ofthe
    10                     information; or
   11                (iii) acts in reckless disregard of the truth or falsity ofthe
   12                      information; and
   13         (B) requires no proof of specific intent to defraud[.]
   14    31 U.S.C. § 3729(b)(1).
   15          22.     Section 3729(a)(1)ofthe FCA provides that a person is liable to the
   16    United States Government for three times the amount of damages that the
   17    Government sustains because ofthe act of that person, plus a civil penalty of
   18    $5,000 to $10,000 per violation. Pursuant to the Federal Civil Penalties Inflation
   19    Adjustment Act of 1990, as amended by the Debt Collection Improvement Act of
   20    1996, 28 U.S.C. § 2461 (notes), 64 Fed. Reg. 47099,47103(1999), and 28 C.F.R. §
   21    85.3(2015), the FCA civil penalties were adjusted to $5,500 to $11,000 per
   22    violation for violations occurring on or after October 23, 1996. In accordance with
   23    the Federal Civil Penalties Inflation Adjustment Act of2015, the FCA civil penalty
   24    amounts were again adjusted, this time to $10,781 to $21,563 per violation for
   25    violations occurring after November 2, 2015. See 28 C.F.R. §§ 85.3 & 85.5 (2016);
   26    81 Fed. Reg. 42491,42500(2016).
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   28                                           COMPLAINT
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     1         23.    The term "material" means having a natural tendency to influence, or
    2    be capable ofinfluencing, the payment or receipt of money or property. 31 U.S.C.
    3    § 3729(b)(4).
    4             FCA Liability Arisingfrom the Failure to Return Overpayments
    5          24.    The term "obligation" means an established duty, whether or not fixed,
    6    arising from an express or implied contractual, grantor-grantee, or licensor-licensee
    7    relationship, from afee-based or similar relationship, from statute or regulation, or
    8    from the retention of any overpayment. 31 U.S.C. § 3729(b)(3).
    9          25.    Congress enacted the Affordable Care Act on March 23, 2010. Section
   10 6402(a) of the ACA established a new Section ofthe Social Security Act(which
   11    provides for Medicare and Medicaid),42 U.S.C. § 1320a-7k, called the Medicare
   12    and Medicaid program integrity provisions (the "Integrity Provisions").
   13          26.    The overriding purpose of the Integrity Provisions is to protect
   14    government funds dedicated for healthcare purposes from fraud and improper
   15    payments. This is accomplished by way of a statutory framework for determining
   16    when "overpayments" are received by providers and when the retention of such
   17    overpayments creates liability under the False Claims Act.
   18          27.    The Integrity Provisions require a person who has received an
   19    overpayment to "report and return the overpayment to the Secretary [of CMS],the
   20    State, an intermediary, a carrier, or a contractor, as appropriate, at the correct
   21    address," and to "notify the Secretary, State, intermediary, carrier, or contractor to
   22    whom the overpayment was returned in writing ofthe reason for the overpayment."
   23    42 U.S.C. § 1320a-7k(d)(1)(A)-(B).
   24          28.    The law further requires that an overpayment be reported and returned
   25    by the later of:(A)the date which is 60 days after the date on which the
   26    overpayment was identified; or(B)the date any corresponding cost report is due, if
   27    applicable. 42 U.S.C. § 1320a-7k(d)(2)(A)-(B).
   28                                          COMPLAINT
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     1         29.    The Integrity Provisions specify that any overpayment retained by a
    2    person after the deadline for reporting and returning an overpayment is an
    3    obligation (as defined in 31 U.S.C. 3729(b)(3))for purposes of the federal False
    4    Claims Act. 42 U.S.C. § 1320a-7k(d)(3).
    5          30.    The Integrity Provisions define the terrn "overpayment" as "any funds
    6    that a person receives or retains under subchapter XVIII or XIX
    7 ~ [Medicare/Medicaid] to which the person, after applicable reconciliation, is not
    8    entitled under such subchapter." 42 U.S.C. § 1320a-7k(d)(4)(B).
    9          31.    The terms "knowing" and "knowingly" as used in the Integrity
   10    Provisions have the same definitions as under the federal False Claims Act. 42
    11   U.S.C. § 1320a-7k(d)(4)(A).
   12          32.    The term "person" as used in the Integrity Provisions means "a
   13    provider of services, supplier, Medicaid managed care organization[MCO](as
   14    defined in section 1396b(m)(1)(A) of this title), Medicare Advantage[MA]
   15    organization (as defined in section 1395w-151(a)(13) of this title) or PDP
   16 [prescription drug plan] sponsor(as defined in section 1395w-1S 1(a)(13) of this
   17    title). 42 U.S.C. § 1320a-7k(d)(4)(C)(i)."
   18    B.    The California False Claims Act
   19          33.    The California False Claims Act("CFCA")provides in pertinent part
   20    that any person who:
   21         (1)     Knowingly presents or causes to be presented a false or
   22                fraudulent claim for payment or approval,
   23         (2)     Knowingly makes, uses, or causes to be made or used a false
   24                 record or statement material to a false or fraudulent claim,
   25         (3)     Conspires to commit a violation of this subdivision,
   26                                           ***

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   28                                         COMPLAINT
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     1         (7)    Knowingly makes, uses, or causes to be made or used a false
    2                 record or statement material to an obligation to pay or transmit
    3                 money or property to the state or to any political subdivision, or
    4                 knowingly conceals or knowingly and improperly avoids, or
    5                 decreases an obligation to pay or transmit money or property to
    6                 the state or to any political subdivision,
    7         (8)     Is a beneficiary of an inadvertent submission ofa false claim,
    8                 subsequently discovers the falsity of the claim, and fails to
    9                 disclose the false claim to the state or the political subdivision
    10                within a reasonable time after discovery ofthe false claim, shall
    11                be liable to the state or to the political subdivision for treble
    12                damages, the costs of bringing the civil action and statutory
    13                penalties.
    14   Cal. Gov't Code § 12651(a).
    15 ~ C.    The Federal Anti-Kickback Statute And FCA Violations Arising From
    16         Violations Thereof
    17         34.    The primary purpose of the Federal Anti-Kickback Statute("AKS"),
    18   42 U.S.C. § 1320a-7b(b), is to protect patients and the federal health care programs
    19   from the corruptive influence of kickbacks and bribes on treatment decisions. The
   20    Medicare and Medicaid programs rely upon physicians to provide treatment that is
   21    medically necessary and appropriate.
   22          35.    To protect patients and the government health care programs from
   23    medically unnecessary treatment, treatment of inferior quality, and harmful
   24    treatment, Congress enacted the Federal AKS in 1972, barring the payment of
   25    kickbacks to physicians. See Social Security Amendments of 1972,Pub. L. No. 92-
   26    603, §§ 242(b)& (c). Congress subsequently strengthened the statute in 1977 and
   27    again in 1987 to ensure that kickbacks disguised as legitimate transactions do not
   28                                          COMPLAINT
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     1   evade its reach. See Medicare-Medicaid Antifraud and Abuse Amendments,Pub. L.
    2 ~ No. 95-142; Medicare and Medicaid Patient Program Protection Act of 1987,Pub.
    3    L. No. 100-93. Additionally, the AKS was "intended to strengthen the capability of
    4    the Government to detect, prosecute, and punish fraudulent activities under the
    5 [M]edicare and [M]edicaid programs,...because fraud and abuse among
    6    practitioners ... is relatively difficult to prove and correct."' U.S. ex rel. Bawduniak
    7    v. Biogen IDEC, Civ. No.12-10601, 2018 WL 1996829, *2(D. Mass. Apr. 27,
    8    2018)(quoting H.R. Rep. No. 95-393, at 1, 27(1977)).
    9          36.        Violation ofthe Federal AKS is a felony punishable by fines and
    10   imprisonment and can also result in exclusion from participation in federal health
    11   care programs. See 42 U.S.C. §§ 1320a-7b(b)(2)&(7).
    12         37.    Specifically, the Federal AKS makes it illegal for individuals or
    13   entities to "knowingly and willfully offer[] or pay[] remuneration (including any
    14   kickback, bribe, or rebate) directly or indirectly, overtly or covertly, in cash or in
    15   kind to any person to induce such person ... to purchase,...order,... or
    16   recommend purchasing ... or ordering any good ...service or item for which
    17   payment may be made in whole or in part under a Federal health care program." 42
    18   U.S.C. § 1320a-7b(b)(2).
    19         38.    California has also enacted an anti-kickback law prohibiting the
   20    payment or acceptance of kickbacks by any person in connection with the purchase
   21    or ordering of goods or the provision of any services covered by their Medi-Cal
   22    Program. See Cal. Welf. & Inst. Code § 14107.2.
   23          39.    To be eligible to participate in the Medicare program and be
   24    reimbursed for treatment provided to Medicare beneficiaries, providers are required
   25    to enter into a provider agreement in which the provider makes the following
   26    certification:
   27
   28                                           COMPLAINT
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     1         I agree to abide by the Medicare laws, regulations and program
    2          instructions that apply to this supplier. The Medicare laws, regulations,
    3          and program instructions are available through the Medicare
    4          contractor. I understand that payment of a claim by Medicare is
    5          conditioned upon the claim and the underlying transaction complying
    6          with such laws, regulations, and program instructions (including, but
    7          not limited to, the Federal anti-kickback statute and the Stark law), and
    8          on the supplier's compliance with all applicable conditions of
    9          participation in Medicare.
    10   Medicare Enrollment Application(CMS-855B).
    11         40.    Likewise, providers participating in the Medicaid program are required
    12   to sign enrollment agreements with the states. Although there are variations in each
    13   state's Medicaid provider agreement, all of these agreements require that the
    14   provider comply with all state and federal laws, including the State AKS,Federal
    15   AKS,and Medicaid regulations, in billing the state Medicaid program for drugs and
    16   services furnished to Medicaid beneficiaries.
    17         41.    On each Form CMS-1500 submitted to Medicare or Medicaid for
    18   payment for drugs and services furnished to beneficiaries, a provider certifies,
    19   among things, that the claim "complies with all applicable Medicare and/or
   20    Medicaid laws, regulations, and program instructions for payment including but not
   21    limited to the Federal anti-kickback statute":
   22          In submitting this claim for payment from federal funds, I certify that:
   23          1)the information on this form is true, accurate and complete; 2)I
   24          have familiarized myself with all applicable laws, regulations, and
   25          program instructions, which are available from the Medicare
   26          contractor; ... 4)this claim, whether submitted by me or on my behalf
   27          by my designated billing company,complies with all applicable
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     1         Medicare and/or Medicaid laws, regulations, and program instructions
    2          for payment including but not limited to the Federal anti-kickback
    3          statute and Physician Self-Referral law (commonly known as Stark
    4          law); 5)the services on this form were medically necessary and
    5          personally famished by me or were furnished incident to my
    6          professional service by my employee under my direct supervision,
    7          except as otherwise expressly permitted by Medicare or TRICARE ...
    8          42.    Accordingly, compliance with the Federal AKS is a material condition
    9    of payment for Medicare and Medicaid claims. Similarly, compliance with the
    10   Federal AKS and California AKS are material conditions of payment for Medicaid
   11    claims. Claims for payment for drugs and services that are tainted by illegal
   12    kickbacks are not authorized to be paid by Medicare and Medicaid and thus
   13    constitute claims that are both legally and factually false.
   14          43.    Section (g)ofthe federal Anti-Kickback Statute, 42 U.S.C. § 1320a-
   15    7b, specifically provides that "a claim that includes items or services resulting from
   16    a violation of this section constitutes a false or fraudulent claim for purposes of[the
   17    Federal FCA]." Congress added section(g)to the Federal AKS in 2010 to clarify
   18    that "all claims resulting from illegal kickbacks are considered false claims for the
   19    purpose of civil actions under the False Claims Act, even when the claims are not
   20    submitted by the wrongdoers themselves." 155 Cong. Rec. S10854(Oct. 28,2009)
   21 (Sen. Leahy). Another goal of the amendment was to "strengthen[] whistleblower
   22    actions based on medical care kickbacks, which tempt by health care providers to
   23    churn unnecessary medical care at great risk to patients and great cost to the
   24    taxpayer." Id. at S10853 (Sen. Kaufman).
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   28                                          COMPLAINT
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     1   D.    Government Healthcare Program Coverage for Prescription HIV Drugs
    2          1.     Medicare Coverage Of Prescription HIV Drugs
    3          44.    Congress established the Medicare Program in 1965 to provide health
    4    insurance coverage for people age 65 or older and for people with certain
    5    disabilities or afflictions. See 42 U.S.C. §§ 426 & 426a.
    6          45.    The Medicare program is divided into four "parts" that cover different
         services. Medicare Part A generally covers inpatient hospital services and services
         for patients with end-stage renal disease.
    9          46.    Medicare Part B-covered drugs generally fall into the following
   10    categories: drugs furnished incident to a physician's services (e.g., injectable drugs
   11    used in connection with the treatment of cancer); drugs explicitly covered by statute
   12 (e.g., some vaccines and oral anticancer drugs); and drugs used in conjunction with
   13    durable medical equipment such as inhalation drugs or infusion drugs such as IVIG.
   14    See Medicaxe Benefit Policy Manual, ch. 15 § 50;see also 42 U.S.C.
   15    § 1395x(t)(2)(B).
   16          47.    The Part B reimbursement amount is generally determined by
   17    reference to the drug's Average Sales Price("ASP"), a price which the government
   18    calculates based on quarterly price information that the drug manufacturer provides
   19    to CMS. Since January 2005, CMS has been paying for most Part B-covered drugs
   20    using a payment methodology based on ASP. ASP is defined as a manufacturer's
   21    sales of a drug to all purchasers in the United States in a calendar quarter divided by
   22    the total number of units of the drug sold by the manufacturer in that same quarter.
   23    The Part B reimbursement amount for a particular drug is generally the ASP plus
   24    6%. Medicare pays 80% of this amount and the patient is responsible for the
   25    remaining 20%, which for qualifying patients is reimbursed by Medicaid.
   26          48.    At all relevant times, IVIG was reimbursable under Medicare Part B.
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   28                                         COMPLAINT
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     1         49.    Medicare Part C provides for private companies to offer "Medicare
    2    Advantage" plans that include, at a minimum, all benefits covered by Parts A and
     3   B. Accordingly, at all relevant times, IVIG was reimbursable under Medicare Part
    4    C.
    5          50.    Medicare Part D provides coverage for certain prescription drugs.
    6    Medicare Part D Plans are offered by private, Medicare-approved insurance
     7   companies which are funded by the federal government. In order to be covered by
    8    Part D,the drugs generally must be dispensed only upon a prescription and for a
    9    medically-acceptable indication. See Medicare Prescriprion Drug Benefit Manual,
    10   ch. 6 § 10.1. At all relevant times,IVIG was reimbursable under Medicare Part D.
    11         51.    Medicare Part C Plans and Part D Plans are "grantees" of federal funds
    12   under the federal FCA. 31 U.S.C. § 3729(b)(2)(A)(ii). Therefore, when false claims
    13   for payment are knowingly submitted to a Medicare Part C or D Plan, this gives rise
    14   to liability under the federal False Claims Act.
    15         2.     Medi-Cal Coverage Of Prescription HIV Drugs
    16         52.    Medicaid is a government health insurance program for the poor that is
    17 jointly funded by the federal and state governments. See 42 U.S.C. §§ 1396 et seq.
    18         53.    Each state administers its own Medicaid program. California's
    19   Medicaid Program is referred to as Medi-Cal. Medicaid programs are governed in
   20    part by federal statutes, regulations and guidelines. The federal portion of each
   21    state's Medicaid payment —the Federal Medical Assistance Percentage("FMAP")
   22    — is based on that state's per capita income compared to the national average.
   23    California's Medi-Cal FMAP is presently 50%.
   24          54.    Medi-Cal will generally cover beneficiaries' Medicare co-payments.
   25          55.    Outpatient prescription drug coverage is an optional benefit, though
   26    one that all state Medicaid programs have elected to provide. See § 1905(a)(12) of
   27    the Social Security Act including Medi-Cal. Outpatient prescription drugs are
   28                                         COMPLAINT
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     1   typically those that may be obtained only by prescription and dispensed by
    2    pharmacists. IVIG was a covered drug under Medi-Cal.
    3          56.    States pay for covered drugs at prices set by various formulas relating
    4    to the cost of those drugs and the pharmacies' costs in dispensing them. Medicaid
    5    allows states some level of discretion in choosing this formula. Under California's
    6    Medicaid Program, Medi-Cal has reimbursed for IVIG utilizing a methodology
    7    intended to reflect the actual commercial price of the drug.
    8          57.    The State of California is a "grantee" of federal funds under the federal
    9 ~ FCA.31 U.S.C. § 3729(b)(2)(A)(ii). Therefore, when false claims for payment are
   10    knowingly submitted to Medi-Cal, this gives rise to liability under not only the
   11    California CFCA but the federal False Claims Act as well.
   12          3.     The Ryan White CARE Act
   13          58.    The Ryan White Comprehensive AIDS Resources Emergency(CARE)
   14    Act is the third largest source of federal funding for HIV care in the United States,
   15    following Medicare and Medicaid, and is the country's single largest federal
   16    program designed specifically for people with HIV. The program functions as a
   17 "payer of last resort" for those facing coverage limits or with no other source of
   18    coverage. The program provides primary health care, support services, and
   19    pharmaceutical treatments—including IVIG—to individuals affected by HN.
   20          59.    The Ryan White CARE Act was first enacted in 1990 and has been
   21    amended and reauthorized four times, in 1996, 2000, 2006, and 2009. The Ryan
   22    White CARE Act expired in 2013, but the program remains in effect as Congress
   23    continues to appropriate funding each year. The program's federal funding for
   24    fiscal year 2019 was approximately $2.3 billion.
   25          60.    The Ryan White program is divided into five parts. Part A provides
   26    funds for "eligible metropolitan areas," while Part B provides funds to states and
   27    territories. Much of the funding provided to states and metropolitan areas under
   28                                         COMPLAINT
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         Parts A and B is channeled in turn to local providers. In contrast, Parts C,D,and F
    Fa   of the program provide funds directly to organizations providing HIV care.
    3            61.       The vast majority offunding provided under the Ryan White program
    4    is concentrated in Parts A and B. Part A represented 28% of the Program's funding
    5    in FY 2019, with the Los Angeles metropolitan area's share being $43.9 million.
    6    Meanwhile 57% of the Program's funding was provided to states under Part B, with
    7    California receiving $156.4 million.
    8            62.       Recipients offunding under the Ryan White program are "grantees" of
    9    federal funds under the federal FCA. 31 U.S.C. § 3729(b)(2)(A)(ii). Therefore,
    10   when false claims are knowingly submitted for payment by funds provided under
    11   the Ryan White program, this gives rise to liability under the federal False Claims
    12   Act.
   13                                            V.       IVIG Background
    14           63.      Immunoglobulins are large antibodies that are used by the immune
    15   system to identify and neutralize foreign objects such as bacteria and viruses.'
   16    Beginning in the 1950s, immunoglobulins were introduced as treatment options for
   17    patients with antibody immune deficiencies.2 Over the course of decades, scientific
    18   innovation led to the creation ofimmunoglobulin products that could be used
   19    intravenously.;When administered to a patient through a vein, these medicines are
   20    called Intravenous Immunoglobulin, or IVIG.4 When done safely, the process of
   21    administering IVIG to a patient often takes multiple hours.5 In California, Medical
   22    Assistants are not authorized to administer medications intravenously.6
   23
           https://www.ajmc.corn/journals/supplemend2012/a390_ 12jun_igg/considerations-for-the-optimal-use-of-
   24    immunoglobulin
         z https://primaryimmune.org/sites/defautdfiles/publications/IDF%20Guide%20to%20Ig%20Therapy.pdf
   2$    3 https://primaryimmune.org/sites/defauidfiles/publications/IDF%20Guide%20to%20Ig%20Therapy.pdf
           https://www.uptodate.corn/contents/intravenous-immune-globulin-ivig-beyond-the-basics
         5 https://www.pfizerpro.corn/sites/default/files/otg-octagatn-dosing-and-administration-guide.pdfladvert=advert;
   26    https://primaryimmune.org/sites/default/files/publications/Ig%20Chart%206-4-2019.pdf
         6 https://healthforce.ucs£edu/sites/healthforce.ucsf.edu/files/publication-
   2~    pdf/2013_09_California_MA Scope_of Practice.pdf; see 16 CFR § 1366 e~ seq.
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                  64.      IVIG is created through a purification process that begins with the
    2     plasma of human blood donors. This means that IVIG stores cannot be replenished
    3     simply by purchasing more precursor ingredients, as would be the case for a typical
    4     chemically manufactured drug. Because of this reliance on human donors, IVIG
    5     shortages are common, and have become increasingly so in recent years.$ Due to
    6     limited IVIG availability, hospitals and medical systems have been forced to delay
    7     treatments, lower doses, and prioritize certain patients while leaving others
    8     untreated.
    9             65.      IVIG is used in antibody replacement therapy for patients with
    10    immunodeficiencies who do not naturally produce sufficient amounts of antibodies
    11    or whose antibodies function incorrectly.9 Additionally, due to immunoglobulin's
    12    anti-inflammatory and immunomodulatory effects, IVIG is used to treat patients
    13    with peripheral neuropathies10 such as Guillain-Bane Syndrome and its chronic
    14    counterpart known as chronic inflammatory demyelinating polyneuropathy, or
    15    CIDP.11 Symptoms of CIDP include tingling or numbness in the toes and fingers;
    16    weakness in the arms and legs; aching muscle pain; loss of deep tendon reflexes;
    17    and abnormal sensation.12
    18            66.      It is estimated that over one-third of HN/AIDS patients experience
    19    peripheral neuropathy.13 Although the pathogenesis of HIV/AIDS-associated
   20     peripheral neuropathy was not fully understood, at least two causal pathways have
   21     been recognized: neuropathy caused by HIV itself, and neuropathy caused by HIV
   22
   23
   24       https://www.rheumaderm-sociery.org/ivig/
          g https://www.fda.gov/vaccines-blood-biologics/safety-availability-biologics/information-about-immune-globulin-
   25     human-product-shortage
         9 https://primaryimmune.org/wp-contenduploads/2015/11/IDF-Guide-for-Nurses-2013.pdf
         ' o http://peripheralneuropathycenter.uchicago.edu/leamaboutpn/typesofpn/inflammatory/cidp.shtml
   26    '~ hops://www.ncbi.nlm.nih.gov/pubmed/16391402; https://www.aan.corn/PressRoom/Home/PressRelease/1051
          12 http://peripheralneuropathycenter.uchicago.edu/learnaboutpn/typesofpn/inflammatory/cidp.shtml
   2~    "https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3962261/
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         treatments.14 When caused by treatments, the most common culprits are nucleoside
    2    reverse transcriptase inhibitors, known as NRTIs or "d-drugs."15 In turn, IVIG is
    3    among the treatments available to treat the neuropathy caused by the NRTIs.16
    4             67.     In the beginning stages ofthe HIV/AIDS epidemic, NRTIs were used
    5    in high doses, and sometimes as monotherapy, leading to heightened incidence of
    6    drug-related neuropathy. However, the incidence of drug-related neuropathy has
    7    decreased dramatically in recent years, as NRTIs have been employed in lower
    8    doses or as part of a combination regimen—leading, in turn, to far less need for
    9    IVIG to treat resulting neuropathy.l
                                           '  This drop in NIG utilization is reflected in the
    10   HIV patients treated by SoCal Men's Health Group. SoCal Men's Health Group
    11   presently cares for roughly 2,500 HIV patients. The cohort receiving NRTIs is
    12   either very small or even non-existent.
    13           68.      Treatment with IVIG is extremely expensive. As a representative
    14   example, the reimbursement for .Sg of the IVIG Octogam is currently $43.14 in the
    15   case of Medi-Cal and approximately $38.22 in the case of Medicare.'$ Assuming a
    16   patient weighs 84kg,(about 185 lbs), a typical dosage would be 42 grams, resulting
    17   in well over $3000 in reimbursement exclusive ofreimbursement for the infusion
    18   itself. IVIG infusions are often administered every day for five days.
    19           69.      IVIG infusions can result in adverse effects, some of which are
   20    extremely dangerous. These risks include hypertension, anaphylaxis,
   21    bronchospasm, and altered consciousness. These adverse effects require the
   22
   23
   24    14 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3962261/; hops://www.foundationforpn.org/what-is-peripheral-
         neuropathy/causes/inflammatory-neuropathy/hiv-aids/
         15 https://www.foundationforpn.org/what-is-peripheral-neuropathy/causes/inflammatory-neuropathy/hiv-aids/;
   25    http://peripheralneuropathycenter.uchicago.edu/learnaboutpn/typesofpn/inflammatory/hiv_aids.shtml
         16 https://www.foundationforpn.org/what-is-peripheral-neuropathy/treatments/
   26    "https://www.thebodypro.com/article/peripheral-newopathy
         ~g https://files.medi-cal.ca.gov/pubsdoco/rates/rates_informarion.asp?num=23&first=A0030&last=L3253;
   2~    https://hcpcs.mdes/j-codes/J1568/
   28                                                    COMPLAINT
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     1   infusion to be stopped immediately and for corresponding medical attention to be
    2    provided.
    3          70.    Among the drug companies selling IVIG during the relevant rime
    4    period, and the respective name of their IVIG brand are: Pfizer(brand name
    5    Octogam), Grifols(Flebogamma, Gamunex-C),CSL Behring (Privigen), Kedrion
    6 (Gammaked), Bio Products Laboratory (Gammplex), and Shire(Gammagard).
    7                                 VI.    Factual Allegations
    8    A.    Relator Mills Learns Of Potential Fraud Concerning IVIG Prescriptions
    9          From The Medical Board Of California
   10          71.     SoCal Men's Medical Group, established in 1999, specializes in
   11    treating cardiovascular disease, diabetes, infectious diseases such as hepatitis as
   12    well as HIV treatment and prevention and sexual health. An affiliated entity is the
   13    Men's Health Foundation Pharmacy("Foundation Pharmacy"] which is a non-
   14    profit pharmacy and located in the same building as SoCal Men's Medical Group.
   15    At no time has this pharmacy stocked or sold IVIG.
   16          72.    The Medical Group had an ongoing relationship with Premier
   17    Pharmacy. In particular, at all times relevant hereto a moratorium on new pharmacy
   18    contracts with Medi-Cal was in effect(at least in part because of the amount of
   19    fraud surrounding drug prescriptions being directed to Medi-Cal for payment). This
   20    meant that the Foundation Pharmacy could not fill prescriptions being paid by
   21    Medi-Cal. Accordingly, the Medical Group regularly directed Medi-Cal patients to
   22    Premier Pharmacy. Medi-Cal patients were directed to Premier Pharmacy in
   23    particular because it offered free delivery and accepted co-pay assistance.
   24          73.    In early December of 2018 Relator Mills received a telephone call at
   25    the Medical Group from an investigator, Sylvia Salcedo, calling in connection with
   26    an investigation being undertaken on behalf of the Medical Board of California
   27 ("Medical Board"). Ms. Salcedo told Relator Mills that the Medical Board was
   28                                         COMPLAINT
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     1   investigating sales ofIVIG to Dr. Emmanuel Lim (of the ERL Medical Corporation
    2    located in Los Angeles) and his unusually high use ofIVIG with his HIV patients.
    3    Relator Mills told her that he would be suspicious of any provider still prescribing
    4    regular IVIG infusions with HIV patients.
    5          74.    Ms. Salcedo also told Relator Mills that Dr. Lim had reported to the
    6    Medical Board that he was purchasing his IVIG from Dr. Mills. Relator Mills
    7    requested that Ms. Salcedo provide the Medical Group with a sample invoice.
    8          75.    On December 4,2018, Salcedo emailed a copy of a sample invoice
    9    which purports to represent a sale to ERL Medical Corporation on Apri125,2018,
    10   by "Anthony Mills, MD",at the Medical Group business address, of 150 units
    1 1 (grams)ofIVIG at a price of40 dollars per gram,for a total of6,000.00 dollars.
    12   The invoice is fraudulent. No such transaction with Relator Mills ever occurred.
    13   Moreover, the per unit price appeared heavily discounted off the expected
    14   commercial price.
    15         76.    Relator Mills followed up by asking the Medical Board who the
    16   contact person was for the "sale" described in the invoice. Salcedo told him that
    17   defendant Azar was the contact person and that she had evidently been selling IVIG
    18   to ERL Medical Corporation for years.
    19         77.    Relator Mills then asked Defendant Azar directly if she had played any
   20    role in selling IVIG to ERL Medical Corporation. She denied knowing anything
   21    about such sales and said that she would look into the matter further. Azar never
   22    provided any follow up information.
   23    B.    Relator Mills Undertakes An Investigation Within SoCal Men's Medical
   24          Group Of The Contents Of Defendant Azar's Computer
   25          78.    In February of2019 SoCal hired a new nurse manager, Brian Willis,
   26    who assumed responsibility for purchasing supplies. He soon learned that Azar had
   27    been ordering extra IV supplies despite the limited use of IV's at the clinic.
   28                                         COMPLAINT
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     1   Furthermore, during early 2019 there were rumors circulating within the medical
    2    Group that Azar might be operating a home health agency ofsome sort providing
    3    IV infusions. An Internet search identified a listing for "Azar Judy Nursing
    4    Agency" at 5901 W.Olympic Boulevard,#420 Los Angeles, CA 90036, with a
    5    phone number of(310)246-2270. A search for that phone number,in turn, revealed
    6    that it belonged to a company called Terra Nova Medical Group, with the Better
    7    Business Bureau listing an address of9201 W. Sunset Blvd. # 414the same
    8    building as the SoCal Men's Medical Group.
    9            79.   These disturbing revelations prompted Relator Mills to initiate an
   10    internal investigation to determine whether defendant Azar had been engaged in
   11    illegally selling or administering IVIG. Accordingly, the Medical Group's IT
   12    deparhnent undertook the retrieval of information contained in Azar's computer,
   13    including files she had downloaded from her personal email.
   14            80.   The IT investigation produced an array of documents and data
   15    revealing multiple highly troubling facts regarding Azar's activities with respect to
   16    sales and administration ofIVIG, and indicating that she was: 1)engaged in
   17    falsifying prescriptions for NIG which were being directed to and filled by Premier
   18    Pharmacy,2)falsely representing in invoices to Premier Pharmacy that she was
   19    administering infusions ofIVIG,3)falsely representing herself as a registered nurse
   20    and 4)being paid by Premier Phannacy for administering these infusions on a full
   21    time(40-hour week) basis, and moreover, for days and hours when she was
   22    physically present at the Medical Group.
   23            81.   Among the more surprising and highly disturbing revelations:
   24                  a.    Azar had been submitting work invoices to Premier Pharmacy as
   25    essentially afull-time employee for at least five years from as early as February
   26    2014.
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   28                                         COMPLAINT
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     1                b.     The invoices appeared to be for infusion services administered
    2    by Azar to medical patients, roughly three times per week per patient, at a rate of
    3    $35 per hour for 6-8 hours per day.
    4                 c.     Many ofthe invoices not only included dates of service but
    5    patient names. A minimum of 74 total entries identified just two patients. Fifty-
    6    three ofthe infusion sessions, or 71.6 percent, were attributed to patient A and
    7    twenty-one sessions, or 28.4 percent, to patient B. Patient A is not a patient of Dr.
    8    Mills and while patient B is a patient of Dr. Mills, Dr. Mills had never prescribed
    9    IVIG for Patient B.
    10                d.    In these invoices Azar seeks compensation from defendant
    11   Premier Pharmacy on a full time or near full time basis on days and at times she
    12   was physically present at the Medical Group.
    13                e.    In addition to these invoices, IT's investigation uncovered at
    14   least one IRS W-2 Form stating that Premier Pharmacy had paid over $62,000.00 in
    15   compensation to Defendant Azar in calendar year 2014, greater than her
    16   compensation at the Medical Group for the same year.
    17                f.    IT's investigation also uncovered an earnings statement from
    18   Premier Pharmacy to Azar revealing that for the period from January 1, 2018
    19   through the July 8th, 2018,Premier Pharmacy had paid Azar over $45,000.00. The
   20    statement includes "Time Card Details" showing that Azar was claiming she had
   21    clocked in every day at Premier Pharmacy at 8:00 a.m. and clocked out at 4:30 p.m.
   22                 g.    The investigation also uncovered abundant evidence that Azar
   23    had falsified prescriptions for IVIG which were subsequently transmitted to
   24    Premier Pharmacy for filling. For example, correspondence faxed to Premier
   25    Pharmacy's fax number on or about March 29, 2016 providing prior authorization
   26    for IVIG insurance coverage for Patient B purports to be signed by Relator Mills.
   27    Relator Mills never sought such prior authorization, however, and his signature is
   28                                          COMPLAINT
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     1   fake. Also among Azar's documents, a refill authorization request for 12 refills for
    2    this same patient from on or about November 7, 2016 was found (this refill request
     3   is also proof that Premier Pharmacy was indeed filling these fraudulent
    4    prescriptions). Relator Mills never sought these refills and his signature on the refill
    5    request is fake —either Azar used a stamp signature or forged one for Relator Mills.
    6    Yet a third document representing to be an IVIG prescription (with 5 refills) for
    7    Patient B written by Relator Mills dated April 14, 2014 and faxed to Premier
    8    Pharmacy at 2657 Saturn Street, Brea CA is fraudulent. Relator Mills neither wrote
    9    nor signed this prescription. Another fraudulent prescription dated May 9, 2014
    10 (one which actually indicates Azar spoke with Premier Pharmacy directly in regards
    11   thereto) was uncovered. This prescription, purportedly signed by Relator Mills, was
    12   faxed to Premier Pharmacy on or about that date for IVIG (with 5 refills) for Patient
    13   B again.
    14                h.     The investigation also uncovered an IRS Form 1099 stating that
    15   in 2017 the ERL Medical Corporation had paid Anthony Mills MD $310,000.00.
    16   Relator Mills never received such a payment.
    17   C.    Relator Mills Confronts Defendant Samuel,President of Premier
    18         Pharmacy And Asks Him What He Knows About Azar And Fraudulent
    19         IVIG Prescriptions Being Filled By Premier Pharmacy
   20          82.    In late March 2019, in the wake of the internal investigation, Relator
   21    Mills contacted Stephen Samuel,the president ofPremier Pharmacy by phone.
   22    Relator Mills told Samuel that the California Medical Board had contacted him in
   23    connection with a state investigation of Dr. Lim's suspiciously high usage ofIVIG
   24    and Defendant Azar's role in supplying IVIG to Dr. Lim. Relator Mills told Samuel
   25    that the Medical Group had undertaken a search of Azar's documents and found
   26    evidence indicating that she was engaged in falsifying IVIG prescriptions and
   27    submitting them to Premier Pharmacy.
   28                                          COMPLAINT
                                                   24
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               83.    Samuel sounded panicked by the information Relator Mills had just
    2    shared with him. Samuel responded that whenever he believed Azax had provided a
    3 "stamped" Anthony Mills signature he had insisted that Azar supply him with an
    4    original signature from Dr. Mills instead. He acknowledged the prescriptions were
    5    being filled. Indeed, he told Mills that sometimes the drug was delivered to the
    6    patient and other times it was delivered to Azar.(Personnel at the Medical Group
    7    confirmed to Mills that drugs were delivered directly to Azar at Medical Group's
    8    offices. Samuel added that some ofthe IVIG refill requests were prepared by
    9 "Guyler." Guyler Quintal is a pharmacy tech who had been dismissed by relator
    10   Mills for writing prescriptions for himself. Pharmacy techs are not legally permitted
    11   to write prescriptions for IVIG. Samuel told Relator Mills that he would undertake
    12   his own investigation as to Azar's activities.
    13         84.    On or about March 28, 2019, in an apparent attempt to convince
    14   Relator Mills of the legality of Azar's activities, Samuel faced to the Medical
    15   Group multiple examples of progress notes purporting to memorialize IVIG
    16   infusion sessions during which defendant Azar had administered the drug to HIV
    17   patients. However, as Relator Mills recognized upon examination, these progress
    18   notes raise more questions than they answer. Not only did they have numerous
    19   indicia offalsity, more generally, they suggested that these infusions sessions and
   20    supporting patient notes were fabricated in order to provide the patina of legitimacy
   21    to the generous "compensation" Premier Pharmacy was giving Azar, money which
   22    was in truth, nothing more than illegal kickbacks paid in exchange for the ongoing
   23    stream of phony IVIG prescriptions Azar had been falsifying and sending Premier
   24    Phannacy,(and which Premier Pharmacy then filled), for years.
   25          85.    Among the red flags contained within the progress notes:
   26                 a.     Azar signs each one as a registered nurse, no doubt because
   27    medical assistants are not legally permitted to administer drug infusions in the State
   28                                         COMPLAINT
                                                   25
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    1   of California. Premier Phannacy had supposedly been paying Azar many tens of
    2   thousands of dollars for years for her administration ofIVIG infusions. The fact
    3   that she was holding herself out as a RN was a foundational misrepresentation of
    4   which Premier Pharmacy should have been aware. In fact, during Relator Mills'
    5   phone call with Samuel, Samuel claimed Premier Pharmacy would never accept a
    6   prescription for IVIG from a mere medical assistant such as Azar was. Thus,
    7   Samuel knew perfectly well Azar was not an RN.
    8                 b.    Many ofthe progress notes were obvious forgeries because the
    9   patients' vital signs numbers were always identical to those ofthe other notes and
   10   the handwriting is identical. Azar had filled out one progress note and apparently
   11   copied it, using it over and over again by simply changing the date to make it
   12   appear as if she had actually administered the IVIG infusion on an ongoing basis.
   13                 c.    The blood pressure reading on many of the notes was 90/66.
   14   This is dangerously low and would call for termination of the infusion session since
   15   the patient might be experiencing anaphylaxis.
   16                 d.    The progress notes appeared to show that Azar was
   17   administering IVIG infusions from 3 a.m. to 9 a.m. in the morning, or in other
   18   words, in the middle ofthe night.
   19   D.      Relator Mills Confronts Defendant Lim,President of ERL Medical
   20           Corporation, And Asks Him What He Knows About Payments from
   21           ERL to "Anthony Mills MD"For Fraudulent IVIG Prescriptions
   22           86.   Relator Mills then contacted Emmanuel Lim by phone. In particular,
   23   Relator Mills wanted to know if any checks from Lim or ERL to Relator Mills
   24   existed above and beyond the $310,000 in checks evidenced by the Form 1099
   25   found among Azar's documents. He told Lim not to pretend that he really believed
   26   he was purchasing IVIG from Dr. Mills when he knew the IVIG was coming from
   27   Azar.
   28                                       COMPLAINT
                                                 26
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     1          87.   Lim told Relator Mills that Azar always delivered the drug and that he
    2    had been purchasing IVIG from her(Dr. Mills) for four or five years.
    3           88.   It is not credible that Dr. Lim,and his company ERL believed their
    4    purchases ofIVIG from Azar complied with the law. Indeed, every relevant fact
    5    points to the conclusion that Lim knew full well that Azar was selling IVIG on the
    6    black market, but that he bought it anyway in order to benefit financially from the
    7    spread between the amount he was paying for the drug and the far greater dollar
    8    amount which Medi-Cal and/or federal programs would reimburse for the drug.
    9    Among these relevant facts are the following:
    10                a.    In Relator's decades of experience as a clinician and HIV
    11   specialist, doctors never sell IVIG.
    12                b.    Lim/ERL was purchasing the NIG from Azar at prices far
    13   below prices in the commercial market. For example, he purchased 1SO units
    14 (grams)ofIVIG from Azar on Apri125, 2018 at a price of$40 per unit. This is far
    15   below what the drug would have cost in the commercial market at that time.
                                                          •
    16   Commercial prices (plus 6%)are roughly the reimbursement amount Medicare Part
    17   B pays, for example.
    18                c.    Although he was ostensibly purchasing the drug from Relator
    19   Mills in large quantities and for years and years, he never once had any interaction
   20    whatsoever with Relator Mills.
   21                 d.    Azar herself was a medical assistant, not a licensed pharmacist.
   22                 e.    Given the highly unorthodox circumstances under which
   23    Lim/ERL was purchasing the IVIG, wherein the contact person for years was
   24    neither a doctor nor a pharmacist, Lim/ERL had ample reason to suspect that the
   25    IVIG was either adulterated or misbranded in violation of federal and possibly state
   26    law.
   27
   28                                           COMPLAINT
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     1         89.    The $6,000 check representing Lim/ERL's Apri125, 2018 illegal
    2    purchase ofIVIG was drawn from Union Bank. Upon a request for assistance, an
    3    employee ofthat bank told Relator that the check had been deposited into an
    4    account at Wells Fargo bank. Continuing his investigation, Relator Mills then met
    5    with a representative of Wells Fargo Bank. The representative confirmed that
    6    Lim/ERL's checks were being deposited at Wells Fargo and denied that the payee
    7    was Anthony Mills MD but would not provide any additional information. The
    8    representative did, however, suggest the possibility of"check washing". Check
    9    washing is a term used to describe the illegal act of changing the name on a check,
   10    or the dollax amount, and then depositing it.
   11          90.    Relator Mills lodged a complaint with the California Board of
    12   registered nursing on or about April 11, 2019 to report Azar's unlawful activities.
   13    The Board of Nursing could not discipline Azar because she is not actually a
    14   registered nurse so they forwarded the complaint to the Medical Board of
   15    California, which has jurisdiction over Medical Assistants. On or about May 9,the
    16   Medical Board confirmed receipt of the complaint.
   17    E.    Relator Mills' Internal Investigation Indicated That Defendant Azar
   18          Had Conspired With Two Additional Specialty Pharmacies To Submit
   19          False Claims For Reimbursement As To IVIG
   20          91.    In the course of examining Defendant Azar's documents as part of
   21    Relator Mills' internal investigation, Relator discovered invoices that Defendant
   22    Azar had prepared for two other specialty pharmacies, Cienega Pharmacy located in
   23    West Hollywood, California, and MedQuick Pharmacy located in San Gabriel.
   24    Both of these pharmacies provide prescription services for HIV/AIDS patients.
   25          92.    The invoices are similar in content and format to those Azar prepared
   26 for Premier Pharmacy.
   27
   28                                         COMPLAINT
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     1         93.    The Cienega Pharmacy invoices total $1,500.00 and cover weeks
    2    during May and July in 2012. The patient identified is Patient B,a Patient whose
    3    name also appears on Azar's Premier Pharmacy invoices.
    4          94.    The MedQuick Pharmacy Invoices total $19,645 and span the period
    5    from July 2011 through February 2013. Just as in the case of the Premier Pharmacy
    6    invoices, many entries for infusions allegedly administered identify Patient A or
    7    Patient B as the recipient.
    8          95.    As in the case ofPremier Pharmacy, Defendant Azar was employed on
    9    a full-time basis during the time periods represented by these invoices.
   10          96.    As in the case ofPremier Pharmacy, Cienega and MedQuick had very
    11   reason to know full well that as a medical assistant, and not an RN,it was a
    12   violation of California law to administer infusions.
   13          97.    The unusual number of infusions which were administered to Patient
    14   A (53)and Patient B(21)over the course of months constitute an additional red
   15    flag signaling that these infusions never took place. Indeed, Patient B has been
   16    under the care of Relator Mills for all relevant times herein and Relator Mills never
   17    prescribed NIG infusions for him. These patients' names were instead used by
   18    defendants to create the illusion that Azar was performing reasonable and necessary
   19    infusion services and being paid by these Defendants.
   20          98.    It is more than reasonable to infer not only that these infusion sessions
   21    were fictitious but given Azar's parallel use of fictitious invoices with respect to
   22    defendant Premier Pharmacy, it appears that these invoices axe in truth false
   23    statements intended to mask the kickbacks these pharmacies were illegally paying
   24    Azar to provide them with forged IVIG prescriptions.
   25    F.    Additional Scienter Allegations
   26          99.    The False Claims Act and its California analog require that a defendant
   27    engage in the proscribed conduct "knowingly" in order to be held liable. The FCA
   28                                          COMPLAINT
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     1   specifically explains that "no proof of specific intent to defraud" is required to meet
     2   the knowingly standard. 31 U.S.C. 3729(b). A person is defined as acting
     3   knowingly with respect to information if the person (i) has actual knowledge ofthe
    4    information;(ii) acts in deliberate ignorance of the truth or falsity ofthe
     5   information; or (iii) acts in reckless disregard ofthe truth or falsity of the
    6    information. The Defendants have each satisfied the standard required to be held
    7    liable.
    8                                   Judy Azar and Terra Nova
    9              100. As an architect and primary actor in this scheme to defraud the United
    10   States, Judy Azar had full knowledge of her acts and their implications. The
    11   animating purpose of her scheme was to cause false and fraudulent claims to be
    12   presented to the United States for payment. Judy Azar did this knowingly through
    13   her coordination with the other Defendants to seek reimbursement for IVIG supply
    14   and administration. Ms. Azar knowingly and willfully solicited and received
    15   remuneration from the other Defendants in exchange for her participation in the
    16   scheme.
    17             101. Likewise, Judy Azar's use of false records or statements material to
    18   the false or fraudulent claims was done knowingly. Ms. Azar had actual knowledge
    19   that she was forging fraudulent prescriptions and creating fraudulent clinical
   20    progress notes which were material to the United States' payment ofclaims for
   21    IVIG supply and administration. She knowingly and willfully solicited and received
   22    remuneration in exchange for these fraudulent prescriptions and clinical progress
   23    notes.
   24                            Stephen Samuel and Premier Pharmacy
   25              102. Stephen Samuel and his company,Premier Pharmacy, knowingly
   26    participated in the fraudulent scheme described in this complaint. Mr. Samuel and
   27    Premier Pharmacy had knowledge that the claims for reimbursement ofIVIG that
   28                                           COMPLAINT
                                                    30
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        they presented to the United States for payment were false or fraudulent, and that
    2   they were using false records or statements material to false or fraudulent claims,
    3   because they knew that the prescriptions underlying the claims were forgeries.
    4          103. Mr. Samuel and Premier Pharmacy had ample reason to suspect that
    5   the IVIG prescriptions were forged, and they knowingly and willfully offered and
    6   paid remuneration to Judy Azar in exchange for the forged prescriptions. At a
    7   minimum,they acted in deliberate ignorance and reckless disregard of the falsity of
    8   the prescriptions by failing to investigate and confirm their veracity.
    9          104. Further, Samuel and Premier Pharmacy had knowledge that the claims
   10 for IVIG administration that they presented to the United States for payment were
   11   false or fraudulent, and that they were using false records or statements material to
   12 false or fraudulent claims, because they knew that the clinical progress notes
   13   underlying the claims were fictitious and were not written by a licensed clinician
   14 for the reasons set forth herein.
   15          105. Mr. Samuel and Premier Pharmacy also had knowledge that they were
   16   improperly avoiding an obligation to pay or transmit money to the Government. On
   17   information and belief, they had actual knowledge at all times that the payments
   18   they received for the supply and administration ofIVIG were overpayments that
   19   created a duty to return the overpayments to the United States. At minimum, Mr.
   20   Samuel and Premier Pharmacy acted in deliberate ignorance and reckless disregard
   21   of the fact that they received overpayments when they failed to investigate the
   22   forged prescriptions and falsified clinical progress notes supplied by Judy Azar. At
   23   the least, they had actual knowledge that they had received overpayments following
   24   the discussion between Dr. Mills and Mr. Samuel regarding Judy Azar and the
   25   IVIG prescriptions, as evidenced by Premier Pharmacy firing Ms. Azaz.
   26
   27
   28                                        COMPLAINT
                                                  31
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     1                                    Cienega Pharmacy
    2           106. Cienega Pharmacy knowingly participated in the fraudulent scheme
    3    described in this complaint. Cienega Pharmacy had knowledge that the claims for
    4    IVIG supply and administration that it presented to the United States for payment
    5    were false or fraudulent, and that it was using false records or statements material to
    6    false or fraudulent claims.
    7           107. On information and belief, Cienega Pharmacy had actual knowledge
    8    that Judy Azar was unqualified to administer IVIG because she is not a Registered
    9    Nurse, and that Ms. Azar was not administering IVIG to patients, and yet it
   10    knowingly and willfully offered and paid remuneration to Ms. Azar in exchange for
   11    IVIG administration. At minimum, Cienega Pharmacy acted in deliberate ignorance
   12    and reckless disregard of this information by failing to investigate Ms. Azar's
   13    invoices.
   14           108. Cienega Pharmacy also had knowledge that it was improperly avoiding
   15    an obligation to pay or transmit money to the Government. On information and
   16    belief, it had actual knowledge at all times that the payments it received for the
   17    supply and administration of IVIG were overpayments that created a duty to return
    18   the overpayments to the United States. At minimum, Cienega Pharmacy acted in
   19    deliberate ignorance and reckless disregard ofthe fact that it received overpayments
   20    by failing to investigate Ms. Azar's invoices.
   21                                          MedQuick
   22           109. MedQuick knowingly participated in the fraudulent scheme described
   23    in this complaint. MedQuick had knowledge that the claims for IVIG supply and
   24    administration that it presented to the United States for payment were false or
   25    fraudulent, and that it was using false records or statements material to false or
   26    fraudulent claims.
   27
   28                                         COMPLAINT
                                                   32
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              110. On information and belief, MedQuick had actual knowledge that Judy
    2   Azar was unqualified to administer IVIG because she is not a Registered Nurse, and
    3   that Ms. Azar was not administering IVIG to patients, and yet it knowingly and
    4   willfully offered and paid remuneration to Ms. Azar in exchange for IVIG
    5   administration. At minimum, MedQuick acted in deliberate ignorance and reckless
    6   disregard of this information by failing to investigate Ms. Azar's invoices.
    7         1 11. MedQuick also had knowledge that it was improperly avoiding an
    8   obligation to pay or transmit money to the Government. On information and belief,
    9   it had actual knowledge at all times that the payments it received for the supply and
   10   administration of NIG were overpayments that created a duty to return the
   11   overpayments to the United States. At minimum, Cienega Pharmacy acted in
   12   deliberate ignorance and reckless disregard of the fact that it received overpayments
   13   by failing to investigate Ms. Azar's invoices.
   14                    Emmanuel Lim and ERL Medical Corporation
   15         1 12. Emmanuel Lim and his company,ERL Medical Corporation,
   16   knowingly participated in the fraudulent scheme described in this complaint. Dr.
   17   Lim and ERL had knowledge that the claims for IVIG supply that they presented to
   18   the United States for payment were false or fraudulent, and that they were using
   19   false records or statements material to false or fraudulent claims, because they knew
   20   that the IVIG they obtained from Judy Azar was misbranded, adulterated, and
   21   purchased from unlicensed personnel.
   22         1 13. Dr. Lim and ERL had actual knowledge that they were purchasing
   23   IVIG from a Medical Assistant, Judy Azar, and not from Dr. Mills or from a duly
   24   licensed pharmacy or distributor, and that the IVIG was not being stored,
   25   maintained, or transferred according to safety requirements. At minimum, Dr. Lim
   26   and ERL acted in deliberate ignorance and reckless disregard of this information by
   27   failing to confirm that they were purchasing IVIG through proper channels.
   28                                        COMPLAINT
                                                  33
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     1          114. Dr. Lim and ERL also had knowledge that they were improperly
    2    avoiding an obligation to pay or transmit money to the Government. On
    3    information and belief, they had actual knowledge at all times that the payments
    4    they received for the supply ofIVIG were overpayments that created a duty to
    5    return the overpayments to the United States. At minimum, Dr. Lim and ERL acted
    6 ~ in deliberate ignorance and reckless disregard ofthe fact that they received
    7    overpayments when they failed to confirm that they were purchasing IVIG through
    8    proper channels. At the least, they had actual knowledge that they had received
    9    overpayments following the discussion between Dr. Mills and Dr. Lim regarding
   10    their acquisition ofIVIG from Judy Azar.
   11                                    VII.     COUNTS
   12                           COUNT I: FALSE CLAIMS
   13                             Federal False Claims Act
            31 U.S.C.§ 3729(a)(1)(A)(Presenting False Claims As to All Defendants)
   14
                1 15. Relator hereby incorporates and re-alleges each allegation in each of
   15
         the preceding paragraphs as though fully set forth herein, and further alleges as
    16
         follows:
   17
                1 16. Defendants, by and through their agents, officers, and employees,
   18
         knowingly presented or caused to be presented to Medicare, Medi-Cal and other
   19
         federally funded health care programs false or fraudulent claims for IVIG and
   20
         associated costs for infusing the drug. Accordingly, Defendants violated the False
   21
         Claims Act, 31 U.S.C. § 3729(a)(1)(A).
   22
                1 17. In engaging in the conduct alleged above, Defendants acted
   23
         "knowingly" as that term is defined in 31 U.S.C. § 3729,in that they acted with
   24
         actual knowledge, deliberate ignorance, or reckless disregard of the truth or falsity
   25
         ofthe information.
   26
   27
   28                                           COMPLAINT
                                                   34
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     1          118. As a result of Defendants' violations of 31 U.S.C. § 3729(a)(1)(A), the
    2    United States has suffered damages in an amount to be determined at trial and
    3    therefore is entitled to treble damages under the False Claims Act, plus civil
    4    penalties of not less than $5,500 and up to $11,000 for each violation occurring
    5    before and including November 2, 2015, and of not less than $10,781 and up to
    6    $21,563 per violation for violations occurring after November 2, 2015.
    7                            COUNT II: FALSE CLAIMS
    8                              Federal False Claims Act
             31 U.S.C.§ 3729(a)(1)(B)(Using Fatse Statements As To AU Defendants)
    9
                119. Relator hereby incorporates and re-alleges each allegation in each of
    10
         the preceding paragraphs as though fully set forth herein, and further alleges as
    11
         follows:
    12
                120. Defendants, by and through their agents, officers, and employees,
    13
         knowingly made, used, or caused to be made or used, false records or statements
    14
         material to claims for reimbursement to Medicare and other federal health care
    15
         programs for Taxotere at inflated prices. These false records and statements
    16
         included among others, Defendants' fraud upon the United States Patent Office in
    17
         obtaining the Invalid Patents. Accordingly, Defendants violated the False Claims
    18
         Act, 31 U.S.C. § 3729(a)(1)(B).
    19
                121. In engaging in the conduct alleged above, Defendants acted
   20
         "knowingly" as that term is defined in 31 U.S.C. § 3729, in that they acted with
   21
         actual knowledge, deliberate ignorance, or reckless disregard ofthe truth or falsity
   22
         of the information.
   23
                122. As a result of Defendants' violations of31 U.S.C. § 3729(a)(1)(B), the
   24
         United States has suffered damages in an amount to be determined at trial United
   25
         States has suffered damages in an amount to be determined at trial and therefore is
   26
         entitled to treble damages under the False Claims Act, plus civil penalties of not
   27
   28                                         COMPLAINT
                                                   ~~
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     1   less than $5,500 and up to $11,000 for each violation occurring before and
    2    including November 2, 2015, and of not less than $10,781 and up to $21,563 per
    3    violation for violations occurring after November 2, 2015.
    4                           COUNT III: FALSE CLAIMS
                                   Federal False Claims Act
    5
             31 U.S.C.§ 3729(a)(1)(C)(Conspiracy As to Defendants Steven Samuel,
    6                   Premier Pharmacy,Judy Azar and Terra Nova)
    7          123. Relator Mills hereby incorporates and re-alleges paragraphs 1 through
    8    as though fully set forth herein.
    9          124. In this Count, Relator seeks relief against Defendants Premier
   10 Pharmacy, Steven Samuel, Judy Azar, Terra Nova, Emmanuel Lim and ERL
    11   Medical Corporation under 31 U.S.C. § 3729(a)(1)(C).
   12          125. Steven Samuel and, Judy Azar, individually and/or through Premier
    13   Phannacy and Terra Nova respectively, entered into agreements with each other and
   14    conspired to knowingly present or cause Premier Pharmacy to submit false claims
   15    to Medi-Cal, Medicare and/or other federally funded prescription drug insurance
   16    programs. Specifically, these claims include those for the biologic IVIG and claims
   17 for the associated costs of infusing the drug. These defendants agreed that Azar
   18    would prepare forged IVIG prescriptions and that in return for filling them and
    19   seeking reimbursement from the federal and state government with respect thereto,
   20    Azar would be paid by Premier Pharmacy as if she was perfornung infusions on
   21    patients. These payments, however, were illegal kickbacks.
   22          126. Accordingly, Samuel, Premier Pharmacy, Azar and Terra Nova
   23    conspired to commit violations of31 U.S.C. §§ 3729(a)(1)(A) and 3729(a)(1)(B) in
   24    violation of 31 U.S.C. § 3729(a)(1)(C).
   25          127. As a result of Samuel,Premier Pharmacy, Azar and Terra Nova's
   26    violations of 31 U.S.C. § 3729(a)(1)(C), the United States has suffered damages in
   27    an amount to be determined at trial and therefore is entitled to treble damages under
   28                                        COMPLAINT
                                                   36
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     1   the False Claims Act, plus civil penalties of not less than $5,500 and up to $11,000
    2    for each violation occurring before and including November 2, 2015, and of not less
    3    than $10,781 and up to $21,563 per violation for violations occurring after
    4    November 2, 2015.
    5                     COUNT IV: REVERSE FALSE CLAIMS
                                  Federal False Claims Act
    6
            31 U.S.C.§ 3729(a)(1)(G)(Obligation to Return Overpayments As To All
    7                                    Defendants)
    8          128. Relator hereby incorporates and re-alleges each allegation in each of
    9    the preceding paragraphs as though fully set forth herein, and further alleges as
    10   follows:
    11         129. Defendants knowingly made or used, or caused to be made or used
    12   false records or statements material to an obligation to pay or transmit money to the
    13   United States, or knowingly concealed or knowingly and improperly avoided or
    14   decreased an obligation to pay or transmit money to the United States in violation
    15   of the False Claims Act, 31 U.S.C. § 3729(a)(1)(G).
    16         130. The Defendants received overpayments pursuant to 42 U.S.C. §
    17   1320a-7k. These overpayments were retained by Defendants after the deadline for
    18   reporting and returning them, and as such they constitute obligations, as the term
    19   obligation is used in the False Claims Act, 31 U.S.C. § 3729(a).
   20          131. Such false records or statements or concealment, avoidance or
   21    decrease of an obligation to pay or transmit money to the United States were made
   22    or done knowingly, as defined in 31 U.S.C. § 3729(b)(1).
   23          132. Because of Defendants' acts, the United States has sustained damages
   24 ~ in an amount to be determined at trial and therefore is entitled to treble damages
   25    under the False Claims Act, plus civil penalties of not less than $5,500 and up to
   26    $11,000 for each violation occurring before and including November 2, 2015, and
   27
   28                                         COMPLAINT
                                                   37
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     1   of not less than $10,781 and up to $21,563 per violation for violations occurring
    2    after November 2, 2015.
    3                                     COUNT V
                                  California False Claims Act
    4     Cal. Gov't Code §§ 12651(a~(1),(2)J(3)~(7~& (8~(As To All Defendants With
                                The Exception f onspiracy)
    5
               133. Relator re-alleges and incorporates each allegation in each ofthe
    6
         preceding paragraphs as if fully set forth herein and further alleges as follows:
    7
               134. By virtue ofthe acts described above, the Defendants "[k]nowingly
    8
         presented] or caused] to be presented a false or fraudulent claim for payment or
    9
         approval" in violation of Cal. Gov't Code § 12651(a)(1).
   10
               135. By virtue ofthe acts described above, the Defendants "[k]nowingly
   11
         ma[de], use[d], or caused]to be made or used a false record or statement material
   12
         to a false or fraudulent claim" in violation of Cal. Gov't Code § 12651(a)(2).
   13
               136. By virtue ofthe acts described above, Defendants Azar, Terra Nova,
   14
         Stephen Samuel, and Premier Pharmacy conspired to commit a violation ofthis
   15
         subdivision in violation of Cal. Gov't Code Section 12651(a)(3).
   16
               137. By virtue ofthe acts described above, Defendants "[k]nowingly
   17
         ma[de], use[d], or caused] to be made or used a false record or statement material
   18
         to an obligation to pay or transmit money or property to the state ..., or knowingly
   19
         concealed] or knowingly and improperly avoided] or decreased] an obligation to
   20
         pay or transmit money ... to the state ..." in violation of Cal. Gov't Code §
   21
         12651(a)(7).
   22
               138. By virtue of the acts described above, the Defendants have violated
   23
         Cal. Gov't Code Section 12651(a)(8).
   24
               139. The State of California, unaware of the falsity ofthe records,
   25
         statements and claims made, used, presented or caused to be made, used or
   26
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   28                                         COMPLAINT
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     1   presented by Defendants, paid claims that would not be paid but for Defendant's
    2    acts and conduct alleged herein.
     3         140. By reason of Defendants' acts, the State of California has been
    4    damaged, and continues to be damaged, in a substantial amount to be determined at
    5    trial. Pursuant to Cal. Gov't Code § 12651(a), the State of California is entitled to
    6    three times the amount of actual damages plus a penalty of $5,500 to $11,000 per
    7    violation.
    8                              VIII. PRAYER FOR RELIEF
    9          WHEREFORE,Relator respectfully requests that this Honorable Court enter
    10 judgment in its favor and in favor of the United States of America and against
    11   Defendants as follows:
    12         A.     For the United States, treble damages and civil penalties of not less
    13   $5,500 and up to $11,000 for each violation occurring before and including
    14   November 2, 2015, and of not less than $10,781 and up to $21,563 per violation for
    15   violations occurring after November 2, 2015 per false claim, pursuant to the False
    16   Claims Act, 31 U.S.C. § 3729(a)(1);
    17         B.     For California, treble damages, the costs of bringing this civil action
    18   plus a penalty of $5,500 to $11,000 per violation;
    19         C.     For prejudgment interest on all damages awarded;
   20          D.     For any and all reasonable costs, expenses and attorneys' fees;
   21          E.     For an award to Relator in the maximum amount permissible under
   22    law; and
   23          F.     For such other and further relief as the Court deems just and equitable.
   24
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   28                                         COMPLAINT
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     1
    2    DATED: March 17, 2020                              submitted,

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   27
   28                                 COMPLAINT
                                           40
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    6
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    7                                       Anthony Mills, M.D.
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   28                                 COMPLAINT
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                                         #:45



     1                            CERTIFICATE OF SERVICE

    2
               I hereby certify that I will cause a copy of the above Complaint to be served
     3
         on the following counsel by certified U.S. mail:
    4
     5
         The Honorable William P. Barr
    6    Attorney General of the United States
    7    United States Department of Justice
         950 Pennsylvania Avenue, N.W.
    8    Washington, D.C. 20530-001
    9
         The Honorable Nicola T. Hanna
    10   United States Attorney for the
    11   Central District of California
         312 North Spring Street, Suite 1200
    12   Los Angeles, California 90012
    13
         The Honorable Xavier Becerra
    14   Office ofthe Attorney General
    15   State of California
         1300 "I" Street
    16   Sacramento, California 95814-2919
    17
         Civil Process Clerk
    18   United States Attorney's Office
    19   Central District of California
         300 North Los Angeles Street, Suite 7516
   20    Los Angeles, California 90012
   21
               I declare under penalty of perjury that
   22
   23
         Executed on March 17, 2020.
   24
   25
   26
   27
   28                                          COMPLAINT
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